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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA                                 JS-6
                                         CIVIL MINUTES - GENERAL
                                                                                           April 27, 2021
    Case No.     2:21-cv-01326-SVW-AS                                              Date
                 Related Cases:
                        2:21-cv-01523-SVW-AS
                        2:21-cv-01781-SVW-AS
                        8:21-cv-00506-SVW-AS
                        2:21-cv-01783-SVW-AS
                        2:21-cv-01901-SVW-AS
                        2:21-cv-01936-SVW-AS
                        2:21-cv-02133-SVW-AS
    Title
                 Dwain Lammey v. Carson Hospitality Group, Inc. et al
                 Related Cases:
                 Orlando Garcia v. TUJHMM, Inc. et al
                 Orlando Garcia v. G6 Hospitality Property LLC et al
                 Gary Scherer v. Newport Hotel Venture Inc. et al
                 Orlando Garcia v. G6 Hospitality Property LLC et al
                 Orlando Garcia v. Sanjay Patel et al
                 Orlando Garcia v. Madhubhai M. Patel et al
                 Orlando Garcia v. Harlay Hospitality, Inc. et al



    Present: The Honorable      STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                       Paul M. Cruz                                                  N/A
                       Deputy Clerk                                        Court Reporter / Recorder
               Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                             N/A                                                     N/A
    Proceedings:             ORDER CONSOLIDATING CASE.

        It is hereby ORDERED that the instant case be consolidated with the lead case, Dwain Lammey v.
Carson Hospitality Group, Inc., No. 2:21-cv-01326-SVW-AS. The parties shall proceed in litigating this case
under the case number and case caption of the Lammey case. The Court ORDERS no further filings to occur in
this case. The consolidated case is moved to the Court’s inactive calendar. The plaintiff is ordered to file a
consolidated complaint in the lead case.

       IT IS SO ORDERED.
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                                                            Initials of Preparer                     PMC


                                           CIVIL MINUTES - GENERAL                                     Page 1 of 1
